Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24366 Page 1 of 50




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                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF UTAH


BUREAU OF CONSUMER FINANCIAL
                                              Case No. 2:19-CV-00298-BSJ
PROTECTION,

      Plaintiff,                              AMENDED COMPLAINT
                    v.

PROGREXION MARKETING, INC.; PGX
HOLDINGS, INC.; PROGREXION
TELESERVICES, INC.; EFOLKS, LLC;
CREDITREPAIR.COM, INC.; JOHN C.
HEATH, ATTORNEY AT LAW, PLLC,
D/B/A LEXINGTON LAW

      Defendants.
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24367 Page 2 of 50




         The Bureau of Consumer Financial Protection (Bureau) brings this action

against PGX Holdings, Inc. (PGX Holdings), and its subsidiaries Progrexion

Marketing, Inc. (Progrexion Marketing), Progrexion Teleservices, Inc. (Progrexion

Teleservices), eFolks, LLC (eFolks), and CreditRepair.com, Inc.

(CreditRepair.com), and John C. Heath, Attorney at Law, PLLC (Heath PLLC),

d/b/a Lexington Law Firm or Lexington Law, and alleges the following:

                                  INTRODUCTION

1.       The Bureau brings this action against Defendants alleging deceptive acts and

practices in violation of sections 1031 and 1036 of the Consumer Financial

Protection Act of 2010 (CFPA), 12 U.S.C. §§ 5531 and 5536, and deceptive and

abusive telemarketing acts or practices in violation of the Telemarketing and

Consumer Fraud and Abuse Prevention Act, 15 U.S.C. §§ 6101 et seq., and its

implementing rule, the Telemarketing Sales Rule (TSR), 16 C.F.R. §§ 310.3 and

310.4.

2.       Defendants operate two of the largest credit repair companies in the country,

Lexington Law and CreditRepair.com. They market their services through various

media, including online and over the telephone, offering to help consumers remove

negative information from their credit reports and improve their credit scores.



                                           1
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24368 Page 3 of 50




Consumers sign up for Defendants’ credit repair services and pay hundreds of

dollars in fees seeking to improve their credit scores and get better access to credit

products, on better terms.

3.    To generate credit repair sales, Defendants rely on a network of marketing

affiliates who advertise a variety of products and services, often related to

consumer credit products. As alleged below, Progrexion’s marketing affiliates have

used deceptive, bait advertising to generate referrals to Lexington Law’s credit

repair service. For example, one of Progrexion’s most productive marketing

affiliates falsely advertised that it “guarantee[d] ANYONE a 0-3.5% Down Home

Loan no matter how bad their Credit is when we start!” In reality, the affiliate did

not provide any loans at all. Interested consumers were told that, to participate in

the (non-existent) loan program, they had to sign up with Lexington Law. The

Progrexion Defendants paid this marketing affiliate for each credit repair sale that

resulted from its efforts, despite knowing that it engaged in deceptive practices.

4.    Defendants also violated the law in another way. Federal law forbids

requesting or receiving payment upfront for certain telemarketed credit repair

services; if a company offers services represented to remove derogatory

information from, or improve, a person’s credit history, credit record, or credit

rating, fees can only be collected after a certain time period has elapsed and it has


                                          2
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24369 Page 4 of 50




been demonstrated that the promised results have been achieved. As alleged below,

Defendants charged consumers when they signed up for the service and on a

monthly basis thereafter, without waiting the prescribed period of time and

demonstrating that the promised results were achieved, in violation of the federal

ban on this type of upfront fee.

5.    The Bureau brings this action to stop Defendants from engaging in ongoing,

unlawful practices that harm consumers nationwide by charging consumers

unlawful advance fees in connection with credit repair services and by marketing

and telemarketing those services through deceptive representations, and to obtain

relief for consumers who were harmed by these practices.

                          JURISDICTION AND VENUE

6.    This Court has subject matter jurisdiction over this action because it

concerns federal consumer financial law, 12 U.S.C. § 5565(a)(1), presents a federal

question, 28 U.S.C. § 1331, and is brought by an agency of the United States, 28

U.S.C. § 1345.

7.    Venue is proper in this district because all Defendants reside in or do

business in this district. 12 U.S.C. § 5564(f).

                                      PARTIES

8.    The Bureau is an independent agency of the United States. 12 U.S.C. §


                                           3
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24370 Page 5 of 50




5491. The Bureau is charged with enforcing Federal consumer financial laws. 12

U.S.C. §§ 5563 and 5564. The Bureau has independent litigating authority, 12

U.S.C. § 5564(a) and (b), including the authority to enforce the TSR with respect

to the offering or provision of a consumer financial product or service subject to

the CFPA, 15 U.S.C. § 6105(d).

9.    PGX Holdings is a Delaware corporation with its principal place of business

in Salt Lake City, Utah. It is the holding company that wholly owns and controls

Defendants Progrexion Marketing, Progrexion Teleservices, eFolks, and

CreditRepair.com (referred to collectively, with PGX Holdings, as Progrexion or

the Progrexion Defendants). A subsidiary of PGX Holdings owns and licenses

proprietary software that serves as the platform for most of the credit repair

services provided by Heath PLLC and CreditRepair.com, including initiating

challenges related to tradelines appearing on consumers’ credit reports. Other

subsidiaries of PGX Holdings perform telemarketing and telesales for Lexington

Law and CreditRepair.com services. Through its subsidiaries and the Progrexion

common enterprise, PGX Holdings offers and provides financial advisory services

and services relating to consumer report information and engages in telemarketing

and telesales.

10.   Progrexion Marketing is a Delaware corporation with its principal place of


                                          4
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24371 Page 6 of 50




business in Salt Lake City, Utah. It provides advertising and marketing services,

including identifying consumer leads through telemarketing, to Heath PLLC and

CreditRepair.com. It also provides key parts of the credit repair services marketed

and sold to consumers under the brand names Lexington Law and

CreditRepair.com. For example, Progrexion Marketing contracted with one or

more major consumer reporting agencies to obtain copies of Defendants’

customers’ credit reports and to allow Progrexion to challenge its customers’ credit

report information directly through electronic portals between Progrexion and the

consumer reporting agency. Directly, through its affiliates, and through the

Progrexion common enterprise, Progrexion Marketing offers and provides

financial advisory services and services relating to consumer report information

and engages in telemarketing and telesales.

11.   Progrexion Teleservices is a Delaware corporation with its principal place

of business in Salt Lake City, Utah. It telemarkets and sells Lexington Law credit

repair services on behalf of Progrexion and Heath PLLC. Progrexion Teleservices

employs approximately 1,200 people, most of whom are “telephone service

representatives.” Directly and through the Progrexion common enterprise,

Progrexion Teleservices offers and provides financial advisory services and

services relating to consumer report information and engages in telemarketing and


                                         5
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24372 Page 7 of 50




telesales.

12.    eFolks is a Delaware limited liability company with its principal place of

business in Salt Lake City, Utah. It generates leads for and telemarkets Lexington

Law and CreditRepair.com credit repair services on behalf of Progrexion. eFolks

also owns the trademarks for the CreditRepair.com name and logo and licenses

them to CreditRepair.com. Directly and through the Progrexion common

enterprise, eFolks offers and provides financial advisory services and services

relating to consumer report information and engages in telemarketing and telesales.

13.    CreditRepair.com is a Florida corporation with its principal place of

business in Salt Lake City, Utah. PGX Holdings created CreditRepair.com in

January 2012 as PGX Holdings’ direct-to-consumer brand of credit repair services.

CreditRepair.com engages in its own telesales to enroll consumers, handling

inbound, outbound, and live-transfer calls. It generates leads directly through its

website and through Progrexion Marketing and eFolks. Directly and through the

Progrexion common enterprise, CreditRepair.com offers and provides financial

advisory services and services relating to consumer report information and engages

in telemarketing and telesales.

14.    Heath PLLC is a law firm based in North Salt Lake, Utah that does

business under the trade names Lexington Law Firm and Lexington Law. Heath


                                          6
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24373 Page 8 of 50




PLLC has been associated with Progrexion, or its predecessors, and has licensed

the trademark “Lexington Law” since at least 2004. Progrexion conducts most of

Lexington Law’s core business operations, but Heath PLLC, operating as

Lexington Law Firm, serves as the face of Lexington Law. For example, Heath

PLLC is the entity that formally registers as Lexington Law for purposes of the

applicable state credit services or credit repair registrations and bonds. Heath

PLLC also fields consumers’ complaints about the credit repair services, and

consumers’ contracts are with Heath PLLC. Heath PLLC contracts with PGX

Holdings’ subsidiaries, including Defendants Progrexion Marketing and

Progrexion Teleservices, to: (1) have Progrexion market, telemarket, and sell over

the telephone the credit repair services that Heath PLLC provides; (2) use

Progrexion’s proprietary credit repair products, the tradename Lexington Law, and

the domain name www.LexingtonLaw.com; and (3) obtain other business services,

such as payment processing and payroll services. Because Heath PLLC is a law

firm, Progrexion markets Lexington Law’s credit repair services as legal services.

15.   Heath PLLC offers or provides financial advisory services and services

relating to consumer report information that are for use by consumers primarily for

personal, family, or household purposes, or that are delivered, offered, or provided

in connection with such a consumer financial product or service; Heath PLLC


                                          7
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24374 Page 9 of 50




thereby offers or provides a consumer financial product or service as that term is

defined by 12 U.S.C. § 5481(5). See also 12 U.S.C. § 5481(15)(A)(viii), (ix).

16.   The Progrexion Defendants are, and have been at all times relevant to this

Complaint, “covered persons,” as that term is defined by 12 U.S.C. § 5481(6)(A),

because they offer or provide a financial product or service for use by consumers

primarily for personal, family, or household purposes; or that is delivered, offered,

or provided in connection with such a product or service. The products or services

they offer or provide consist of financial advisory services, including credit

counseling, and the service of “collecting, analyzing, maintaining, or providing

consumer report information or other account information, including information

relating to the credit history of consumers, used or expected to be used in

connection with any decision regarding the offering or provision of a consumer

financial product or service.” 12 U.S.C. § 5481(15)(A)(viii), (ix).

17.   Progrexion Marketing, Progrexion Teleservices, and eFolks are, and have

been at all times relevant to this Complaint, “service providers” to a covered

person as that term is defined by 12 U.S.C. § 5481(26), because they have

provided material services to covered persons, including the persons offering or

providing Lexington Law and CreditRepair.com credit repair services.

18.   PGX Holdings is, and has been at all times relevant to this Complaint, a


                                          8
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24375 Page 10 of 50




“related person,” as that term is defined by 12 U.S.C. § 5481(25), because it has

been, directly or indirectly, the controlling owner of Progrexion Marketing,

Progrexion Teleservices, eFolks, and CreditRepair.com, and because it has been a

shareholder, consultant, joint venture partner, or other person who materially

participated in the conduct of the affairs of those entities. By virtue of its status as a

“related person” under the CFPA, PGX Holdings is also a “covered person” under

the CFPA. 12 U.S.C. § 5481(25)(B).

19.   The Progrexion Defendants operate as a common enterprise. They have

conducted the business practices described below through interconnected

companies that operate under common control, have common business functions,

officers, employees, and office locations, and share advertising and marketing.

Accordingly, an act by one entity constitutes an act by each entity comprising the

common enterprise, and PGX Holdings, Progrexion Marketing, Progrexion

Teleservices, CreditRepair.com, and eFolks are each jointly and severally liable for

the acts and practices of the Progrexion Defendants, or the acts and practices for

which the Progrexion Defendants are responsible, as alleged below.

20.   The Progrexion Defendants and Heath PLLC are, and have been at all times

relevant to this Complaint, “sellers,” as that term is defined by 16 C.F.R.

§ 310.2(dd), because, in connection with telemarketing transactions, they provide,


                                            9
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24376 Page 11 of 50




offer to provide, or arrange for others to provide goods or services to customers in

exchange for consideration.

21.    The Progrexion Defendants are, and have been at all times relevant to this

Complaint, “telemarketers,” as that term is defined by 16 C.F.R. § 310.2(ff),

because, in connection with telemarketing, they initiate or receive telephone calls

to or from customers.

22.    Progrexion Marketing has directed and controlled the telemarketing and

telesales activities of Progrexion Teleservices and eFolks, and authorized

Progrexion Teleservices and eFolks to market Lexington Law and

CreditRepair.com credit repair services. Progrexion Marketing has knowledge of

and controls or has the ability to control the activities of Progrexion Teleservices

and eFolks discussed herein.

23.    Progrexion Marketing, as the principal of Progrexion Teleservices and

eFolks, is liable for the actions of its agents.

24.    Progrexion Marketing has directed and controlled the marketing and

telemarketing activities of its marketing affiliates acting on its behalf, and

authorized them to market Lexington Law and CreditRepair.com credit repair

services. Progrexion Marketing has knowledge of and controls or has the ability to

control the activities of its marketing affiliates discussed herein.


                                            10
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24377 Page 12 of 50




25.   Progrexion Marketing, as the principal of its marketing affiliates, is liable for

the actions of its agents.

26.   PGX Holdings has directed and controlled the activities of Progrexion

Marketing, Progrexion Teleservices, eFolks, and CreditRepair.com, and authorized

those entities to offer and provide credit repair services and to market Lexington

Law and CreditRepair.com credit repair services. PGX Holdings has knowledge of

and controls or has the ability to control the activities of Progrexion Marketing,

Progrexion Teleservices, eFolks, and CreditRepair.com discussed herein.

27.   PGX Holdings, as the principal of Progrexion Marketing, Progrexion

Teleservices, eFolks, and CreditRepair.com, is liable for the actions of its agents.

                             FACTUAL ALLEGATIONS

                         Progrexion’s “Hotswap Program”

28.   Lexington Law and CreditRepair.com are among the largest credit repair

brands in the United States.

29.   Progrexion, or its predecessors, has been in the business of providing credit

repair services to consumers under the trade names “Lexington Law Firm” and

“Lexington Law” since approximately 1994, and through CreditRepair.com since

at least 2012.

30.   Progrexion receives the majority of the revenue generated from the sale of


                                         11
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24378 Page 13 of 50




Lexington Law credit repair services.

31.   To market Lexington Law’s and CreditRepair.com’s services, Progrexion

employs affiliate marketing programs. As Progrexion says on its website, “One of

the primary ways Progrexion generates massive quantities of leads for our clients

is through our strong working relationships with numerous affiliates.”

32.   One of the affiliate marketing programs Progrexion uses to generate such

“massive quantities of leads” is its “Hotswap Program.”

33.   The marketing affiliates that participate in this program — “Hotswap

Partners” — are companies that offer certain products such as rent-to-own housing

contracts, mortgages, auto loans, or personal loans.

34.   Hotswap Partners use telemarketing campaigns consisting of inbound and

outbound telephone calls to consumers across the country to market these products

and services to consumers.

35.   During these telemarketing calls, the Hotswap Partner identifies potential

credit repair customers to refer to Progrexion, and live-transfers them to

Progrexion’s telemarketing sales operations.

36.   Progrexion refers to these live telephone transfers as “hotswaps.”

37.   In some instances, however, the Hotswap Partner does not actually offer the

products or services it purports to provide, and is instead functioning purely as a


                                         12
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24379 Page 14 of 50




source of consumer leads for Progrexion.

38.   Progrexion cultivates and manages its relationships with Hotswap Partners

through Progrexion Marketing.

39.   A significant amount of Progrexion’s credit repair business is generated by

its Hotswap Partners.

40.   The Hotswap Program is intended to convince consumers to purchase credit

repair services when they have been denied a product or service they wanted.

According to Progrexion’s website, “This call-based program is so effective

because it connects people to credit repair at the moment they’ve been denied

credit.”

41.   Hotswap Partners typically offer their products and services through their

websites. They drive consumer traffic to their websites through a variety of

methods, including: Search Engine Optimization methods that make their websites

more likely to appear in an internet search for a product or service; advertisements

on third-party websites such as Facebook and Craigslist; and the use of affiliate

marketing networks where the Hotswap Partners pay commissions to other

companies for providing leads or directing consumers to their websites.

42.   If consumers are interested in the products or services advertised by the

Hotswap Partner, they are directed to either call the Hotswap Partner or provide


                                         13
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24380 Page 15 of 50




their personal contact information and authorize the Hotswap Partner to contact

them via telephone.

43.   Consumers who provide their information are either contacted via telephone

by the Hotswap Partner, or their contact information — a “lead” — is sent to a

third-party company that calls the consumer.

44.   Some leads generated by Hotswap Partners are sent to eFolks for it to

conduct outbound telemarketing for Lexington Law or CreditRepair.com.

45.   When a Hotswap Partner contacts a consumer by phone, it provides the

consumer with further information about the products and services advertised by

the Hotswap Partner.

46.   The Hotswap Partners also pitch Lexington Law’s and CreditRepair.com’s

credit repair services, typically after telling the consumer that he or she has been

denied a particular credit product or service, offering the consumer unfavorable

terms on a loan, or telling the consumer that he or she will be eligible for the

product or service, or for better terms on the product, if they first enroll in the

credit repair service.

47.   For example, a telemarketing script used by one or more of Progrexion’s

marketing affiliates, which Progrexion reviewed and distributed to at least one

marketing affiliate as a model script, says:


                                           14
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24381 Page 16 of 50




       They are credit analysts and have the legal ability to remove questionable
       negative items on your credit report such as: (LIST Negatives Client
       mentioned). By removing these negative items, it should allow us to come
       back and look to refinance you with a conventional lender offering better rates
       and terms in the future.

48.    Progrexion instructs Hotswap Partners to pre-qualify a consumer as suitable

for Lexington Law or CreditRepair.com credit repair services prior to the hotswap

transfer.

49.    Prequalification involves Hotswap Partners ascertaining the following, prior

to transferring a consumer to Progrexion: (1) the consumer has derogatory

tradelines on his or her credit reports; (2) the consumer is not already a customer of

Lexington Law or CreditRepair.com; and (3) the consumer has a valid credit or

debit card that they could use to pay for credit repair services.

50.    Progrexion instructs the Hotswap Partners to disguise these qualifications for

Lexington Law and CreditRepair.com as purported qualifications for the Hotswap

Partners’ products and services.

51.    Once pre-qualified, consumers are offered the opportunity to be connected

with Lexington Law or CreditRepair.com for a “free credit repair consultation.”

52.    Progrexion instructs Hotswap Partners to tie the credit repair consultation to

obtaining the consumer’s desired product or service.

53.    Hotswap Partners follow this instruction. For example, one Hotswap Partner


                                          15
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24382 Page 17 of 50




script told consumers, “in order for you to qualify, you need to work on improving

your credit score and the first step in the Rent to Own program is a credit

consultation with Lexington Law.”

54.    Once the Hotswap Partner completes its pitch, it transfers the consumer to a

Progrexion call center through a dedicated telephone line assigned to the particular

Hotswap Partner.

55.    Once connected, the Hotswap Partner indicates to the Progrexion

representative that he or she is calling on behalf of the Hotswap Partner, introduces

the consumer, and states the consumer’s credit goal or the reason why they are

seeking credit repair.

56.    Progrexion then proceeds to offer the consumer its free credit repair

consultation and pitch its credit repair services, all the while repeatedly referencing

the consumer’s credit goal, as provided by the Hotswap Partner during the live

transfer.

57.    Progrexion tells consumers that during the credit repair consultation, “[w]e

will … go over your credit score, review the reasons for your score and then

provide you solutions to improve your credit score and report.”

58.    After reviewing a consumer’s summary credit report, Progrexion

Teleservice’s telemarketing script instructs its employees to tell consumers, “based


                                          16
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24383 Page 18 of 50




on what we have discussed about your credit situation, it sounds like you may be a

good candidate for our services.” Thereafter, consumers are offered the

opportunity to enroll in Lexington Law’s or CreditRepair.com’s credit repair

services.

59.   Progrexion pays a fee or a commission to its Hotswap Partners for each

consumer transferred to Progrexion who signs up for Lexington Law or

CreditRepair.com.

60.   At times, Progrexion has trained its teleservices employees on the purported

products and services of particular Hotswap Partners so that they could better

connect credit repair to the initial offering by those Hotswap Partners.

61.   For example, one Progrexion call center held training sessions with its

telemarketing staff on the particular services of major Hotswap Partners, the

demographics of the consumers the Hotswap Partners transferred to Progrexion,

and key points that the Hotswap Partners wanted emphasized about their services

and the importance of credit repair.

62.   At other times, Progrexion provided written guidance to its telemarketing

staff about the Hotswap Partners’ purported products and services, including

whether the Hotswap Partner required consumers to sign up for Progrexion credit

repair services as a condition of accessing the Hotswap Partner’s purported


                                         17
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24384 Page 19 of 50




products or services.

63.   Progrexion provided other assistance to Hotswap Partners, such as:

      a. Providing telemarketing scripts, editing Hotswap Partners’ telemarketing

          scripts, and providing model telemarketing calls for training and scripting

          purposes;

      b. Providing prizes and incentives to Hotswap Partner employees for

          increased credit repair sales;

      c. Assisting with website design and the creation of new marketing

          campaigns to replace or supplement the Hotswap Partner’s current lead

          generation activities;

      d. Creating email templates for direct-to-consumer marketing; and

      e. Providing Hotswap Partners with demographic information on Lexington

          Law clients so that the Hotswap Partners could target particular lead

          sources and optimize their scripting.

64.   Progrexion provides this assistance to its Hotswap Partners because creating

a clear connection between the products and services offered to consumers and

credit repair is a key part of its marketing strategy.

65.   Describing the Hotswap Program, Progrexion’s website says, “This program

provides a way for companies to monetize their non-qualified customers by live


                                           18
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24385 Page 20 of 50




transferring them to our call centers for a free consultation with the hopes of

retaining them in one of our credit repair programs.”

66.   This approach gives consumers the impression that they will be able to

obtain the product they sought from the Hotswap Partner after their credit is fixed

through Progrexion’s credit repair service.

67.   Progrexion’s marketing to consumers includes representations that directly

tie Lexington Law’s and CreditRepair.com’s services to particular products —

what Progrexion calls, in its marketing and telemarketer training materials, a

consumer’s aspirational credit “dreams.”

68.   For example, in a general guidance document that appears to have been

distributed widely to Hotswap Partners, Progrexion provided Hotswap Partners

with a sample telemarketing script that references “key components” Hotswap

Partners are required to say to generate credit repair leads. The script includes

language telling consumers that credit repair services will get them one step closer

to obtaining the Hotswap Partner’s purported products:

           Credit repair “can just make the whole process of getting this loan

             funded easier”; and

           “[Y]ou just need to get a few things taken care of with your credit in

             order to get qualified for a loan, that is exactly what Lexington


                                          19
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24386 Page 21 of 50




             specializes in.”

69.    By creating a connection between the consumer’s desired credit product and

credit repair, through the representations of its Hotswap Partners, Progrexion

sought to increase Lexington Law’s and CreditRepair.com’s sales.

70.   As one Progrexion Marketing Affiliate Manager explained to a Hotswap

Partner in an email dated December 9, 2015, the “biggest/main point to make (in

order for this lead to convert on our end) is that the client has to feel that credit

repair is a necessary and easy step in the RTO [rent-to-own]->Mortgage process.”

                           Deceptive Hotswap Marketing

71.   Certain of Progrexion’s Hotswap Partners have made misrepresentations to

consumers to generate consumer leads and induce consumers to sign up for

Lexington Law or CreditRepair.com.

72.   Hotswap Partners have used advertisements that included fake real estate

ads, fake rent-to-own housing opportunities, fake relationships with lenders, false

credit guarantees, and false and unsubstantiated statements about past consumer

outcomes. The ads have also included false and unsubstantiated statements about

consumers’ likelihood of success in obtaining products and services such as rent-

to-own housing contracts, mortgages, or personal loans.

73.   Additionally, although Progrexion’s website portrays the Hotswap Partner


                                           20
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24387 Page 22 of 50




program as an opportunity for partners to sell consumer leads as a source of

revenue when consumers do not qualify for the products or services the partner is

providing, certain Hotswap Partners did not actually offer or provide any such

products or services. Instead, they offered illusory products or services to lure in

consumers and market credit repair services.

74.   For example, from at least 2012 through 2017, one of Progrexion’s most

productive Hotswap Partners, The H.O.P.E. Program (“HOPE”), used

misrepresentations to induce consumers to sign up for Lexington Law.

75.   From at least 2012 through 2017, HOPE contacted consumers across the

country through campaigns and programs of inbound and outbound phone calls,

and transferred to Progrexion over 100,000 consumers who signed up for

Lexington Law credit repair services.

76.   HOPE purported to offer consumers low-interest mortgages, access to rent-

to-own housing, and other products or services, but in reality did not provide any

such products or services.

77.   HOPE, in its own words, acted “merely as an affiliate call center that

transfers potential clients to Lexington Law.”

78.   Despite merely serving as an affiliate call center, HOPE advertised

extensively on Craigslist and Facebook, and through a network of paid affiliates,


                                          21
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24388 Page 23 of 50




claiming to be able to help consumers with poor credit scores obtain favorable

mortgages and rent-to-own housing contracts.

79.   At various times from 2012 through 2017, HOPE employed numerous

falsehoods to induce consumers to contact, or agree to be contacted by, its

telemarketing operation, including:

        a. One of HOPE’s websites stated that enrolling in its service guaranteed

           any consumer “a 0-3.5% down” mortgage “no matter how bad their

           Credit is when we start”;

        b. Another HOPE website represented that the company had helped “over

           15,000 people buy a home that started with under a 500 Credit Score

           when they came to [HOPE]”;

        c. HOPE’s ads offered housing that was not actually available and instead

           routed interested consumers to HOPE or, at times, directly to

           Progrexion;

        d. HOPE’s Facebook advertisements often referenced a “90-day Blitz”

           program offering home financing in a very short timeframe with

           express promises such as: “BUY A HOME IN THE NEXT 30-90

           DAYS NO MATTER WHERE YOUR CREDIT IS NOW”; and

        e. Other HOPE advertisements said: “Are you tired of dead ends? Games?


                                         22
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24389 Page 24 of 50




           Gimmicks? Bad Houses and Fake Ads? Would You like to END all

           that? We know you would…. We … have helped over 12,000 people

           get homes who NEVER thought they could.”

80.   Once consumers were on the phone with HOPE, HOPE made additional

misrepresentations. For example, some consumers were told that HOPE’s program

for achieving home ownership “works every time.”

81.   In some instances, consumers were told that if they achieved a 640 credit

score they would “qualify with one of our lenders.” HOPE, which merely acted as

a call center, had no associated lenders.

82.   HOPE’s marketing also included specific claims about Progrexion’s credit

repair services. For example, one of HOPE’s telemarketing scripts stated about

Lexington Law: “They will review everything with you and put a plan together to

eliminate any negative items to boost your score.”

83.   At times, HOPE told consumers that they had to sign up with Lexington

Law in order to enroll in HOPE’s services and ultimately obtain the products or

services advertised by HOPE.

84.   HOPE told consumers, without any review of their credit history or other

eligibility factors, that their credit score was the only thing keeping them from their

desired product.


                                            23
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24390 Page 25 of 50




85.     For example, one HOPE telemarketing script told consumers “you’d be the

perfect candidate for rent-to-own, but your credit is the only thing holding you

back – this makes you a great match for credit repair.”

      Progrexion’s Knowledge of Deceptive Practices in its Hotswap Program

86.     Progrexion had knowledge that HOPE engaged in the deceptive practices

described in Paragraphs 74-85, above.

87.     Progrexion claims that it prescreens and monitors Hotswap Partner websites

prior to and during its marketing relationship with the Hotswap Partners.

88.     Despite purportedly monitoring Hotswap Partner websites, Progrexion

allowed the misrepresentations described in Paragraph 79(a) and (b) to remain on

HOPE’s websites while HOPE generated leads for Progrexion.

89.     Progrexion also had knowledge that HOPE used the fake ads described in

Paragraph 79(c). For example, a Progrexion employee who reviewed one of

HOPE’s ads posted on Craiglist noted: “Seeing the ad firsthand, I understand why

so many of these clients feel misled when they call in.”

90.     Consumer complaints to the Better Business Bureau and law enforcement

agencies describe other Progrexion Hotswap Partners using Craigslist ads with

fake housing opportunities to draw in customers.

91.     Progrexion had a company policy in place in 2016 that restricted Hotswap


                                         24
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24391 Page 26 of 50




Partners’ use of Craigslist to generate traffic for Progrexion.

92.      Despite this policy, Progrexion knew that certain Hotswap Partners were

using Craigslist ads in their marketing and continued to do business with them for

years.

93.      At least one other rent-to-own housing Hotswap Partner continued to use

Craigslist rent-to-own housing ads in its marketing activities through at least 2018.

94.      Progrexion was also aware of HOPE’s 90-Day Blitz advertising on

Facebook described in Paragraph 79(d), in which it told consumers that they could

get into a home in 90 days regardless of their credit situation. At one point a

Progrexion employee emailed the owner of HOPE and stated that the company was

aware of the 90-Day Blitz program and was concerned that the program was

setting “unreal expectations for clients” and creating confusion. She noted that

“[m]ost of these clients need more than 3 months of credit repair….”

95.      Despite Progrexion’s acknowledgement that most consumers would not be

able to obtain a mortgage in the promised timeframe, Progrexion continued its

marketing relationship with HOPE even as HOPE continued to advertise the 90-

Day Blitz on Facebook.

96.      Progrexion also provided model scripts to HOPE and its other Hotswap

Partners, and even created entire scripts for some affiliates, including HOPE, that


                                          25
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24392 Page 27 of 50




set consumer expectations about the likely results of the credit repair services.

97.   For example, Progrexion authored a telemarketing script for HOPE that

included statements asking if consumers were interested in “repairing [their] credit

to get approved for a [mortgage, refinance, rent-to-own, or car]” and telling

consumers that their credit was “the only thing holding you back” from the

products they desired.

98.   Progrexion also routinely reviewed, and provided edits and suggestions for,

the telemarketing scripts used by HOPE and other Hotswap Partners.

99.   For example, Progrexion reviewed the telemarketing script from which

HOPE made representations regarding the ability of consumers to qualify with one

of its purported lenders as well as Lexington Law’s capability to “eliminate any

negative items to boost your score.”

100. Progrexion also had knowledge that HOPE did not offer or provide the

products and services it advertised, such as low-down-payment mortgages and

rent-to-own housing contracts.

101. For example, Progrexion learned that HOPE did not collect location

information from consumers inquiring about its rent-to-own housing and mortgage

offers when eFolks entered into an agreement with HOPE to receive leads

generated by its marketing activities.


                                          26
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24393 Page 28 of 50




102. The failure to collect location information was unusual among Progrexion’s

rent-to-own housing Hotswap Partners.

103. One eFolks employee noted that such information was necessary to “know

the area [consumers are] looking to buy.” In fact, eFolks’ system required such

information in order for the leads to upload into its automatic dialer.

104. Despite such warnings, Progrexion continued its marketing relationship with

HOPE and suggested that the company simply make up zip codes for the consumer

leads so that eFolks could upload them into its automatic dialer for the purpose of

contacting the consumers directly to market Progrexion and Heath PLLC’s credit

repair services.

105. Progrexion was aware that other Hotswap Partners marketing rent-to-own

housing engaged in questionable marketing activities.

106. For example, in a July 2016 email, a Progrexion employee reported concerns

to another Progrexion employee that certain Hotswap Partners offering rent-to-own

housing were making implicit guarantees that credit repair would result in

consumers obtaining the rent-to-own housing advertised. The Progrexion employee

suggested that this situation be handled by changing the scripting used by Hotswap

Partners in order to “avoid our agents hearing those expectations. The logic being

that it is easier to plead ignorance if you’re truly ignorant.”


                                           27
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24394 Page 29 of 50




107. In another example, in a December 2014 email, Progrexion’s Senior

Director of Compliance reported that “[m]any [clients] have claimed that [a

marketing affiliate] is guaranteeing loan approval as long as they sign up for

Lexington’s services.” In response, one of Progexion’s marketing directors noted

that the affiliate “is one of our largest Hotswap Partners” and that the company had

previously heard the same complaint before.

108. In August 2016, a consumer filed a complaint with the Bureau claiming that

the same marketing affiliate discussed in Paragraph 107 represented that “after

enrollment with Lexington Law I was guaranteed a loan.” The Bureau forwarded

the complaint to Heath PLLC, who replied to the Bureau and the consumer that it

had “no knowledge” of the affiliate. Despite it being one of the “largest Hotswap

Partners” sending consumers to Lexington Law, and despite Progrexion’s prior

knowledge of similar guarantee claims, Heath PLLC claimed that the consumer

“appears to have constructed a relationship between us and [the marketing

affiliate]…that we are unaware of.” Heath PLLC further stated that it could not

“take responsibility for the alleged representations that may or may not have been

made to this person” by the marketing affiliate.

The Relevant Hotswap Partners

109. Although Progrexion uses many Hotswap Partners, for purposes of seeking


                                         28
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24395 Page 30 of 50




relief for deceptive practices in this lawsuit, the following five affiliates comprise

the “Relevant Hotswap Partners”:

      a. HOPE, which did business as The HOPE Program, Help Renters, Homes

          with HOPE, and Hope to Own;

      b. OLP.com, Inc., which did business as One Loan Place and Rocket

          Daddy;

      c. Ascent Mortgage Resource Group, which did business as Lead Virtue,

          First Access Rent-to-Own, First Access Mortgage, United Rent-to-Own,

          Ascent Rent-to-Own, Fileforgrants.net, American Rent-to-Own, Rent to

          Own Homes, and Hope Resources;

      d. Easyhomeownership.net, which did business as Easy Home Ownership

          and Renttoownassistance.com; and

      e. YHTBA Corp., which did business as Rent-2-own.house, Rent Then

          Own Homes, and Renttoown.house.

    Defendants’ Marketing and Sale of Services to Fix Consumers’ Credit

110. The Telemarketing Sales Rule prohibits telemarketers and sellers from

“[r]equesting or receiving payment” upfront for “goods or services represented to

remove derogatory information from, or improve, a person’s credit history, credit

record, or credit rating.”


                                          29
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24396 Page 31 of 50




111. On behalf of consumers, Lexington Law and CreditRepair.com initiate

disputes with furnishers and consumer reporting agencies related to tradelines

appearing on consumers’ credit reports.

112. Progrexion markets Lexington Law and CreditRepair.com as providing

services that will assist consumers in removing derogatory information from, or

improving, the consumers’ credit history, credit record, or credit rating.

113. For example, at various times since July 21, 2011, the Lexington Law

website included the following representations:

     a. “If questionable negative items are hurting your credit, removing them

         can improve your score. Here’s how we do it:

             1. ANALYZE
                We work with you to identify any questionable negative items
                hurting your score.
             2. ADDRESS
                We challenge those negative items with the bureaus and your
                creditors.
             3. ACCELERATE
                We keep the process going, helping you reach your credit goals.”

     b. “Lexington Law is here to help you meet your credit score goals. No

         matter your credit history and financial standing, our credit repair

         services are designed to help you improve your credit score”;

     c. “Lexington Law’s lawyers have the knowledge and tools to start fixing

         your credit score by working to remove inaccurate items on your report”;

                                          30
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24397 Page 32 of 50




     d. “Our results prove it can be done. From late payments to charge-offs to

          bankruptcies, our firms [sic] clients have improved their credit, by

          removing practically every type of questionable negative item” (bolded

          language in larger font type on the website);

     e. “Ask for professional help: If you want to dramatically improve your

          credit standing — ultimately leading to approval for bigger loans with

          better terms — consider asking a professional. You can considerably

          improve your financial standing with the right help”; and

     f.   “Lexington Law has developed tools and strategies that have proven to

          be effective at removing unfair, inaccurate, and unsubstantiated negative

          items.”

114. Other examples are found in Lexington Law’s advertisements published

online at various times since July 21, 2011, such as:

      a. “Need Credit Repair Help? Lexington Law can help you remove negative

          items on your credit reports. . . . Lexington Law | Trusted Leaders in

          Credit Repair.”

      b. “Credit not where you need it to be? . . . Fix Your Bad Credit. Lexington

          Law® has assisted over 500,000 clients with their credit profile.”

      c. “40 POINTS ON YOUR CREDIT COULD COST YOU $40,000 ON A


                                         31
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24398 Page 33 of 50




         30-YEAR MORTGAGE. Challenge questionable items with bureaus . . .

         TRUSTED LEADERS IN CREDIT REPAIR FOR A REASON.”

115. Another Lexington Law advertisement published online in at least January

2019 stated:




                                      32
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24399 Page 34 of 50




116. Another Lexington Law advertisement published online in at least January

2019 stated:




117. Another Lexington Law advertisement published online in at least January

2019 stated:




                                      33
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24400 Page 35 of 50




118. At various times since July 21, 2011, CreditRepair.com’s services were

marketed as follows:

      a. “We work with the credit bureaus and your creditors to challenge the
         unfair or inaccurate negative report items that affect your credit
         score . . . . This can all help to fix your credit”;
      b. “CreditRepair.com will help you challenge the negative items on credit
         reports with the intention of getting them removed”;
      c. “Our credit repair services help to fix your credit report”;
      d. “Previous members have seen an average 40 point TransUnion credit
         score gain during four months of membership”;
      e. “CreditRepair.com Averages 11.6 removals in 4 months”;
      f. “TURN A HIGH CREDIT SCORE INTO A LOW MORTGAGE RATE.
         IMPROVE YOUR CREDIT SCORE AND QUALIFY FOR A LOW
         INTEREST MORTGAGE THAT FITS YOUR NEEDS”; and
      g. “Not Sure What to Do About Bad Credit? Let us help guide the way. You
         don’t have to live with bad credit and high interest rates. Take advantage
         of our knowledge, experience, and advanced technology, and we’ll help
         you create a personal game plan to help you repair your credit. Call 1-
         844-372-1974 to get started. Sign Up Today! Our System is Proven and
         It Works.”




                                           34
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24401 Page 36 of 50




119. One CreditRepair.com advertisement published online in at least August

2018 stated:




120. During telemarketing calls, Progrexion and its marketing affiliates make

additional representations that their credit repair services will result in the removal

of derogatory tradelines from credit reports or improvements to the consumer’s

credit rating.

121. For example, one Progrexion telemarketing script from 2012 says: “. . . our

service includes an array of letters with your creditors . . . designed to persuade

your creditors to remove items;” and “[we] will analyze your credit reports … and

show specific ways you can improve your credit . . . .” The script tells consumers:

       You can see that your credit score can have dramatic effects on your life. Your
       credit score is comprised solely from the information found in your credit
       report. In other words, if you want to improve your score, you have to improve
       your credit report.

                                          35
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24402 Page 37 of 50




The script also asks the consumer: “[h]ow would your life be different in a year

from now with good credit?”

122. In an audio recording of a telemarketing call from May 2016, a Progrexion

agent told a consumer “we assist our clients with cleaning up their credit reports

completely by working on getting every single negative item, amount, and remark

completely deleted off their reports altogether. It is what we do best. In other

words, credit repair.”

         Illegal Upfront Fees for Telemarketed Credit Repair Services

123. The Telemarketing Sales Rule states that fees for telemarketed “goods or

services represented to remove derogatory information from, or improve, a

person’s credit history, credit record, or credit rating” cannot be charged until the

time frame in which the seller has represented all of the goods or services will be

provided to that person has expired and the seller has provided the person with

documentation in the form of a consumer report from a consumer reporting agency

demonstrating that the promised results have been achieved, such report having

been issued more than six months after the results were achieved.

124. At the time of enrollment with Lexington Law or CreditRepair.com,

Progrexion charges consumers a fee, which has been between $9.99 and $14.99

since July 2011, for a complete copy of their TransUnion credit report.

                                          36
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24403 Page 38 of 50




125. Consumers are told that paying this fee is necessary to begin the credit repair

process.

126. After enrolling with Lexington Law or CreditRepair.com, consumers are

then charged their first credit repair service work fee, typically $99.95, five to

fifteen days after enrollment.

127. Consumers are then charged ongoing monthly fees by Progrexion and Heath

PLLC for their credit repair services of $79.95 to $129.95, depending on the

service level the consumer chooses.

128. Heath PLLC and Progrexion request and receive these fees from consumers

prior to providing consumers with documentation, in the form of a consumer report

from a consumer reporting agency, demonstrating that the promised credit repair

results have been achieved, such report having been issued more than six months

after the results were achieved.

129. Heath PLLC and Progrexion continue to charge monthly fees until

consumers affirmatively cancel their Lexington Law or CreditRepair.com

contracts.




                                          37
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24404 Page 39 of 50




                                COUNT I
   The Progrexion Defendants and Heath PLLC Charged Advance Fees for
               Credit Repair Services in Violation of the TSR

130. The Bureau re-alleges and incorporates by reference Paragraphs 1-129.

131. It is an abusive telemarketing act or practice and a violation of the TSR for

any seller or telemarketer to request or receive payment of any fee or consideration

for goods or services represented to remove derogatory information from, or

improve, a person’s credit history, credit record, or credit rating, until:

      a. The time frame in which the seller has represented all of the goods or

          services will be provided to that person has expired; and

      b. The seller has provided the person with documentation in the form of a

          consumer report from a consumer reporting agency demonstrating that

          the promised results have been achieved, such report having been issued

          more than six months after the results were achieved. 16 C.F.R. §

          310.4(a)(2).

132. The Progrexion Defendants and Heath PLLC are sellers and the Progrexion

Defendants are telemarketers under the TSR. 16 C.F.R. § 310.2(dd), (ff).

133. The Progrexion Defendants’ and Heath PLLC’s credit repair services are

represented to consumers as services to remove derogatory information from, or

improve, the consumers’ credit histories, credit reports, or credit ratings.


                                           38
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24405 Page 40 of 50




134. Progrexion Defendants and Heath PLLC routinely requested and received

payment of a fee or consideration for their credit repair services before:

      a. The time frame in which they represented all of their goods or services

         would be provided to the consumer expired; or

      b. They provided the consumer with documentation in the form of a

         consumer report from a consumer reporting agency demonstrating that

         the promised results were achieved, such report having been issued more

         than six months after the results were achieved.

135. Therefore, the Progrexion Defendants’ and Heath PLLC’s conduct

constitutes abusive telemarketing acts or practices in violation of 16 C.F.R. §

310.4(a)(2).

                                     COUNT II
               The Progrexion Defendants Engaged in Deceptive Acts
                       or Practices in Violation of the CFPA

136. The Bureau re-alleges and incorporates by reference Paragraphs 1-129.

137. It is unlawful for any covered person or service provider to engage in a

deceptive act or practice in connection with any transaction with a consumer for a

consumer financial product or service, or the offering of a consumer financial

product or service. 12 U.S.C. §§ 5531 and 5536(a)(1)(B).

138. The Progrexion Defendants are covered persons, service providers, or both,


                                          39
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24406 Page 41 of 50




under the CFPA. 12 U.S.C. § 5481(6), (26).

139. In numerous instances, in connection with the advertising, marketing,

promotion, offering for sale, or sale of Lexington Law and CreditRepair.com credit

repair services, the Progrexion Defendants, directly or through a Relevant Hotswap

Partner, acting on Progrexion’s behalf and for its benefit, have represented,

expressly or by implication, that:

      a. The advertised product or service, such as a loan or rent-to-own housing

         contract, was available through the Relevant Hotswap Partner, or that it

         would be available after signing up for credit repair services with

         Lexington Law or CreditRepair.com; or

      b. Consumers were either guaranteed or had a high likelihood of obtaining

         the advertised product or service, such as a loan or rent-to-own housing

         contract.

140. In truth and in fact:

      a. The advertised product or service was not available through the Relevant

         Hotswap Partner; or

      b. Neither Progrexion nor the Relevant Hotswap Partner had a reasonable

         basis for representing that consumers were either guaranteed or had a

         high likelihood of obtaining the advertised product or service, such as a


                                         40
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24407 Page 42 of 50




            loan or rent-to-own housing contract.

141. These representations have been material and likely to mislead consumers

acting reasonably under the circumstances.

142. The Progrexion Defendants had actual knowledge of the misrepresentations,

reckless indifference to the misrepresentations, or an awareness of the high

probability of the misrepresentations along with an intentional avoidance of the

truth, with respect to the deceptive representations made by the Relevant Hotswap

Partners.

143. Despite this knowledge, the Progrexion Defendants continued to sign up

consumers through the Relevant Hotswap Partners or participated in the Relevant

Hotswap Partners’ deceptive conduct.

144. Therefore, the representations as set forth in Paragraph 139 of this

Complaint are false and misleading, and constitute deceptive acts or practices in

violation of 12 U.S.C. §§ 5531 and 5536(a)(1)(B).

                                COUNT III
  The Progrexion Defendants Made False or Misleading Statements to Induce
     Another Person to Pay for Goods or Services in Violation of the TSR

145. The Bureau re-alleges and incorporates by reference Paragraphs 1-129.

146. It is a deceptive telemarketing act or practice and a violation of the TSR for

a seller or telemarketer to make a false or misleading statement to induce another


                                          41
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24408 Page 43 of 50




person to pay for goods or services. 16 C.F.R. § 310.3(a)(4).

147. The Progrexion Defendants are telemarketers, sellers, or both, under the

TSR. 16 C.F.R. § 310.2(dd), (ff).

148. In connection with the telemarketing of Lexington Law and

CreditRepair.com credit repair services, the Progrexion Defendants, directly or

through a Relevant Hotswap Partner, acting on Progrexion’s behalf and for its

benefit, have represented, expressly or by implication, that:

      a. The advertised product or service, such as a loan or rent-to-own housing

         contract, was available through the Relevant Hotswap Partner, or that it

         would be available after signing up for credit repair services with

         Lexington Law or CreditRepair.com; or

      b. Consumers were either guaranteed or had a high likelihood of obtaining

         the advertised product or service, such as a loan or rent-to-own housing

         contract.

149. In truth and in fact:

      a. The advertised product or service was not available through the Relevant

         Hotswap Partner; or

      b. Neither Progrexion nor the Relevant Hotswap Partner had a reasonable

         basis for representing that consumers were either guaranteed or had a


                                         42
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24409 Page 44 of 50




            high likelihood of obtaining the advertised product or service, such as a

            loan or rent-to-own housing contract.

150. These representations have been material and likely to mislead consumers

acting reasonably under the circumstances.

151. The Progrexion Defendants had actual knowledge of the misrepresentations,

reckless indifference to the misrepresentations, or an awareness of the high

probability of the misrepresentations along with an intentional avoidance of the

truth, with respect to the deceptive representations made by the Relevant Hotswap

Partners.

152. Despite this knowledge, the Progrexion Defendants continued to sign up

consumers through the Relevant Hotswap Partners or participated in the Relevant

Hotswap Partners’ deceptive conduct.

153. Therefore, the representations as set forth in Paragraph 148 of this

Complaint are false and misleading, and constitute deceptive telemarketing acts or

practices in violation of 16 C.F.R. § 310.3(a)(4).

                                 COUNT IV
       The Progrexion Defendants Violated the CFPA by Substantially
      Assisting a Covered Person Engaged in Deceptive Acts or Practices

154. The Bureau re-alleges and incorporates by reference Paragraphs 1-129.

155. It is unlawful for any person to knowingly or recklessly provide substantial


                                           43
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24410 Page 45 of 50




assistance to a covered person or service provider in violation of the provisions of

12 U.S.C. § 5531. 12 U.S.C. § 5536(a)(3).

156. Each Relevant Hotswap Partner was, at all times relevant to this Complaint,

a “covered person,” as that term is defined by 12 U.S.C. § 5481(6)(A), because it

offered or provided financial products or services for use by consumers primarily

for personal, family, or household purposes, or that were delivered, offered, or

provided in connection with such a product or service. The products or services the

Relevant Hotswap Partners offered or provided included consumer credit,

including mortgages; financial advisory services, including credit counseling; and

services relating to consumer report information, including credit repair services.

12 U.S.C. § 5481(15)(A)(i), (viii), (ix).

157. Each Relevant Hotswap Partner was also, at all times relevant to this

Complaint, a “service provider” to a covered person as that term is defined by 12

U.S.C. § 5481(26), because it provided material services to one or more covered

persons, including Progrexion.

158. At all times relevant to this Complaint, the Relevant Hotswap Partners

engaged in deceptive acts or practices in violation of the CFPA, 12 U.S.C. §§ 5531

and 5536(a)(1)(B), by misrepresenting, expressly or by implication, the availability

of an advertised product or service, such as a loan, or that consumers were either


                                            44
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24411 Page 46 of 50




guaranteed or had a high likelihood of obtaining the advertised product or service.

These misrepresentations have been material and likely to mislead consumers

acting reasonably under the circumstances.

159. The Progrexion Defendants provided substantial assistance to the Relevant

Hotswap Partners, including by providing advice and content for the Relevant

Hotswap Partners’ telemarketing scripts, advice regarding its websites and other

marketing vehicles, the means and mechanisms for live-transferring consumers

between the Relevant Hotswap Partners and Progrexion, and payment for each lead

that resulted in a Lexington Law or CreditRepair.com sale.

160. The Progrexion Defendants had the requisite knowledge of or reckless

disregard for the deceptive conduct described in Paragraph 158.

161. Therefore, the Progrexion Defendants violated 12 U.S.C. § 5536(a)(3).

                               COUNT V
  The Progrexion Defendants Assisted and Facilitated Violations of the TSR

162. The Bureau re-alleges and incorporates by reference Paragraphs 1-129.

163. It is a deceptive telemarketing act or practice and a violation of the TSR for

a person to provide substantial assistance or support to any seller or telemarketer

when that person knows or consciously avoids knowing that the seller or

telemarketer is engaged in any act or practice that violates 16 C.F.R. §§ 310.3(a),

(c), (d), or 310.4. 16 C.F.R. § 310.3(b).

                                            45
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24412 Page 47 of 50




164. Each Relevant Hotswap Partner was, at all times relevant to this Complaint,

a “telemarketer,” as that term is defined by 16 C.F.R. § 310.2(ff), that was offering

or providing consumer financial products or services, including consumer credit,

financial advisory services, or services relating to consumer report information. 12

U.S.C. § 5481(15)(A)(i), (viii), (ix).

165. At all times relevant to this Complaint, the Relevant Hotswap Partners made

false or misleading statements to induce another person to pay for goods or

services in violation of the TSR, 16 C.F.R. § 310.3(a)(4), by misrepresenting,

expressly or by implication, the availability of an advertised product or service,

such as a loan, or that consumers were either guaranteed or had a high likelihood

of obtaining the advertised product or service.

166. The Progrexion Defendants provided substantial assistance or support to the

Relevant Hotswap Partners, including by providing advice and content for the

Relevant Hotswap Partners’ telemarketing scripts, advice regarding its websites

and other marketing vehicles, the means and mechanisms for live-transferring

consumers between the Relevant Hotswap Partners and Progrexion, and payment

for each lead that resulted in a Lexington Law or CreditRepair.com sale.

167. The Progrexion Defendants provided substantial assistance or support to the

Relevant Hotswap Partners when the Progrexion Defendants knew or consciously


                                         46
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24413 Page 48 of 50




avoided knowing that the Relevant Hotswap Partner made false or misleading

statements to induce consumers to pay for goods and services, in violation of the

TSR, 16 C.F.R. § 310.3(a)(4).

168. Therefore, the Progrexion Defendants violated 16 C.F.R. § 310.3(b).


                 THIS COURT’S POWER TO GRANT RELIEF

169. The CFPA empowers this Court to grant any appropriate legal or equitable

relief including, without limitation, a permanent or temporary injunction,

rescission or reformation of contracts, the refund of monies paid, restitution,

disgorgement or compensation for unjust enrichment, damages, and monetary

relief, including but not limited to civil money penalties, to prevent and remedy

any violation of any provision of law enforced by the Bureau. 12 U.S.C. §§

5564(a), 5565.

                             PRAYER FOR RELIEF

170. The Bureau requests that the Court, as permitted by 12 U.S.C. § 5565:

      a. Impose appropriate injunctive relief against the Progrexion Defendants

         for their violations of the CFPA and the TSR and other provisions of

         Federal consumer financial law as defined by 12 U.S.C. § 5481(14);

      b. Impose appropriate injunctive relief against Heath PLLC for its

         violations of the TSR;

                                         47
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24414 Page 49 of 50




      c. Grant additional injunctive relief as the Court may deem to be just and

         proper;

      d. Award monetary relief, including, but not limited to, rescission or

         reformation of contracts; the refund of monies paid; restitution;

         disgorgement or compensation for unjust enrichment; and payment of

         damages;

      e. Award Plaintiff civil money penalties;

      f. Award Plaintiff the costs of bringing this action; and

      g. Award such other and additional relief as the Court may determine to be

         just and proper.



Dated: August 17, 2022                   Respectfully submitted,

                                          ERIC HALPERIN
                                          Enforcement Director

                                          DAVID RUBENSTEIN
                                          Deputy Enforcement Director


                                          /s/ Maureen McOwen
                                          MAUREEN MCOWEN
                                          JONATHAN REISCHL
                                          TRACY L. HILMER
                                          ALICIA FERRARA
                                          J. TAYLOR McCONKIE
                                          Bureau of Consumer Financial Protection

                                        48
Case 2:19-cv-00298-BSJ Document 457 Filed 08/17/22 PageID.24415 Page 50 of 50




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                                     49
